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                                 `Local Insurgencies': The
                                  Epoch Times Features
                                 Interview With True The
                                    Vote About Who Is
                                    Funding The Ballot
                                           Mules
                                                                    5.14.2022


                                                                   In the news




                                                     FACTS




                           From The Epoch Times:


                           "An organization called True the Vote has, for the past year and a half now, been
                           investigating the illegal ballot harvesting that took place around the entire
                           country during the 2020 election .


                           And after painstakingly tracking 70 trillion cellphone pings after looking at
                           millions of minutes of surveillance footage, and after actually being able to speak
                           with some of the whistleblowers who acted as ballot mules in 2020, they were able
                           to conclude that around 5 million ballots were trafficked during the 2020 election,
                           and very likely swung the results.


                           In order to get a better picture of what really took place, my team and I flew down
                           to Florida in order to sit down with Greg Phillips and Catherine Engelbrecht from
                           True the Vote and figure out what they found, what they're doing to stop it from
                           happening again in the future, as well as what common Americans like you and me
                           can do to help."




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